  A 0 247 (02108) Order Reaardina Motion for Sentence Reduction                                                                       Rev. 411012008




                                                                         for the
                                                          Eastern District of North Carolina

                    United States of America                               )
                               v.                                          \
                   TERRY TYRON POWELL                                      )   caseN ~ : 7:99-CR-24-1 F
                                                                           ) USMNo:
                                                                           , - -           18269-056
Date of Previous Judgment:                      April 15,2002              )
(Use Date of Last Amended Judgment 11 Applicable)                          ) Defendant's Attorney   Thomas P. McNamara

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. 5 3582(c)(2)

        Upon motion of the            defendant              under 1 8 U.S.C. 5 3582(c)(2) for a reduction in the term
of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.C. 5 994(u), and the court having considered such
motion,
IT IS ORDERED that the motion is:

              DENIED.                 GRANTED               and the defendant's previously imposed sentence of imprisonment (as reflected

                           in the last judgment issued) of 204         months is reduced to 166 months.
If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period of up to ten (10) days for administrative purposes of releasing the defendant.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    42                                  Amended Offense Level:                  40
Criminal History Category:                       I                             Criminal History Category:                    I
 Previous Guideline Range:              360          to      360    months     Amended Guideline Range:            292           to   360      months
11. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
C] The reduced sentence is within the amended guideline range.
    The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
    sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
    guideline range.

    Other (explain)

111. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated April 15, 2002,
shall remain in effect.
 IT IS SO ORDERED.

 Order Date:                                                                           ,,e%           Judge's signature



 Effective Date:
                    (if different fiom order date)
                                                                                   u
                                                                               James C. Fox, Senior U.S. District Judge
                                                                                                    Printed name and title


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